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                                        Stanley E. Lundy
                                          ACTAR #2695
                                    Albuquerque, New Mexico



Introduction:

   Sergeant Stanley E. Lundy has been an employee of the New Mexico Department of Public Safety
since July 2003. Sergeant Lundy has been a Certified Police Officer in the State of New Mexico since
May 2004.

  Sergeant Lundy has been a member of the New Mexico State Police/Crash Reconstruction Unit
(NMSP/CRU) since 2005, was a team leader of the NMSP/CRU and was a full-time member of the
NMSP/CRU and Assistant Commander from 2014-2020. Sergeant Lundy became the NMSP/CRU
Commander in 2020. Sergeant Lundy became an adjunct instructor for the Institute of Police
Technology and Management (IPTM) in 2019 teaching crash reconstruction courses.

Duties:

         Enforce the New Mexico criminal and traffic statutes
         Conduct investigations, make arrests, and assist in the prosecution of criminal offenders
         Testify in various court venues
         Investigate and assist in the investigations of motor vehicle crashes
         Assist various federal, state, and local law enforcement agencies throughout New Mexico
         Investigate and reconstruct vehicle crashes as member of the NMSP/CRU since 2005
         Give Expert Witness testimony in court venues in Crash Investigations, Crash Reconstruction,
          use of Event Data Recorder and Engine Control Module data in Reconstruction

Education:

New Mexico Junior College, Hobbs, New Mexico
January 2005 – Current (Continuous)
Radiological Controls

New Mexico Law Enforcement Academy, Santa Fe, New Mexico
July 2003 – May 2004

Rio Grande High School, Albuquerque, New Mexico
August 1976 – May 1980
High School Diploma

Certifications:

Certified Police Officer in the State of New Mexico
# 04-0099-P

Commercial Driver License, Class A, endorsements: passenger vehicle, school bus, combination vehicles,
tank, hazardous material, motorcycle 100cc +. #028228601

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                                       Stanley E. Lundy
                                         ACTAR #2695
                                   Albuquerque, New Mexico

Automotive Service Excellence, Master Technician, medium/heavy truck and automobile.
ASE ID: ASE-2673-2983

Accreditation Commission for Traffic Accident Reconstructionist (ACTAR) #2695, 2016

Federal Motor Carrier Safety Administration
North American Standard Inspection-December 2003
80 hours

Federal Motor Carrier Safety Administration
General Hazardous Materials-July 2004
40 hours

Federal Motor Carrier Safety Administration
Cargo Tank/Bulk Packaging-November 2004
40 hours

Federal Motor Carrier Safety Administration
Radioactive Material-May 2005
40 hours

Federal Motor Carrier Safety Administration
Compliance Review-February 2006
80 hours

Federal Motor Carrier Safety Administration
New Entrant Audit-May 2006
40 hours

Federal Motor Carrier Safety Administration
Passenger Vehicle Inspector-April 2007 40 hours

New Mexico Public Education Department
School Bus Inspector Certification-May 2013
24 hours New Mexico

Department of Public Safety Training and Recruiting Division
Instructor Certification, General Police and Crash Reconstruction-April 2014

Training:

New Mexico Law Enforcement Academy, Santa Fe, New Mexico
Motor Vehicle Crash Investigations-2003




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                                      Stanley E. Lundy
                                        ACTAR #2695
                                  Albuquerque, New Mexico

Institute of Police Technology and Management
Inspection and Investigation of Commercial Vehicle Crashes-May 2006
40 Hours


Law Enforcement Technologies
At-Scene Crash Investigation-January 2007
40 Hours

T.A.C.T. & Associates Inc.
At Scene Crash Investigations-March 2008
80 Hours

T.A.C.T. & Associates Inc.
Advanced Traffic Crash Investigation-April 2008
80 Hours

T.A.C.T. & Associates Inc.
Traffic Crash Reconstruction-May 2008
80 Hours

State of New Mexico
Advanced Automobile Theft Investigation & Law Enforcement V.I.N. Investigator-June 2008
24 hours

Visual Statement
Basic/Advanced Diagramming and Animation-March 2009
40 Hours

Institute of Police Technology and Management
Advanced Pedestrian / Bicycle Crash Investigation-August 2009
40 Hours

Institute of Police Technology and Management
At Scene Traffic Crash Investigation-May 2011
80 Hours

Albuquerque Police Department
Basic Field Investigator Course-October 2011
80 hours

Visual Statement
FX3 Diagramming with Total Station (Introduction)-November 2011
40 Hours


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                                       Stanley E. Lundy
                                         ACTAR #2695
                                   Albuquerque, New Mexico

Institute of Police Technology and Management
Event Data Recorder Use in Traffic Crash Reconstruction-March 2012
40 Hours


Leica Geosystems
High definition surveying- July 2012
32 hours

Institute of Police Technology and Management
Heavy Vehicle Electronic Control Module Data Use in Crash Reconstruction-October 2013
32 Hours

Leica Geosystems
Advanced surveying-November 2013
32 Hours

New Mexico State Police Investigations Bureau
Techniques for Crime Scene Processing-January 2014
32 Hours

New Mexico Department of Public Safety, New Mexico State Police Advanced Training
Instructor Development-March 2014
40 hours

Institute of Police Technology and Management
Investigation of Motorcycle Crashes-September 2014
40 hours

Institute of Police Technology and Management
Human Factors in Traffic Crash Reconstruction-March 2015
40 hours

Crash Data Specialists
Crash Data Retrieval (CDR) Analysis and Applications Course-April 2015
16 hours

Institute of Police Technology and Management
Investigation of Commercial Vehicle Crashes-October 2015
40 hours


Crash Data Specialists
Crash Data Retrieval (CDR) System Operators Course-December 2015
8 hours


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                                       Stanley E. Lundy
                                         ACTAR #2695
                                   Albuquerque, New Mexico


Institute of Police Technology and Management
Pedestrian / Bicycle Crash Investigation-May 2016
40 hours

Bendix
Air Brake Systems training-September 2016
8 hours

Idaho State Police
Heavy Truck Collision Reconstruction-September 2016
40 hours

CA2RS Conference
Delta-V, PDOF and Crash simulation training-October 2016
20 hours

Accident Analysis & Reconstruction, Inc.
Advanced Collision Reconstruction with CDR Applications-March 2017
40 hours

Institute of Police Technology and Management
Forensic Evidence from Crash Fatalities-September 2017
20 hours

Crash Data Specialists
Operators Training-April 2018
8 hours

Crash Data Specialists
Analysis and Application-April 2018
32 hours

Institute of Police Technology and Management
Pedestrian / Bicycle Crash Investigation Level II-October 2018
40 hours

Institute of Police Technology and Management
Energy Methods and Damage Analysis in Traffic Crash Reconstruction-March 2019
40 hours




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                               Stanley E. Lundy
                                 ACTAR #2695
                           Albuquerque, New Mexico

I have investigated over 1,000 vehicle crashes involving pedestrians, bicycles,
motorcycles, automobiles, commercial trucks and trains.

I have used the Bosch Crash Data retrieval tool to retrieve data from Event Data
Recorders (EDR) over 100 times and used this data in reconstructions.

I have reconstructed over 200 crashes.

I have been qualified and testified as an expert in crash investigations, crash
reconstruction, ECM data and EDR data in New Mexico State Magistrate and District
Courts.

I have been qualified and testified as an expert in the following courts:
       1st Judicial District, Santa Fe County, Santa Fe District Court
                            D-0117-CR-201300163
                            D-0101-CR-201700250
      1st Judicial District, Rio Arriba County, Santa Fe District Court
                            D-0117-CR-201600311
   1st Judicial District, Rio Arriba County, Tierra Amarilla District Court
                            D-0117-CR-201400260
    2nd Judicial District, Bernalillo County, Albuquerque District Court
                             D-202-CV2011-11964
                                CR-2015-00986
                             D-202-CR-201301446
                                CR-2016-03754
    4th Judicial District, San Miguel County, Las Vegas Magistrate and
                                District Court
                            D-412-CR-0201200139



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                          Stanley E. Lundy
                            ACTAR #2695
                      Albuquerque, New Mexico

4th Judicial District, Guadalupe County, Santa Rosa Magistrate and
                             District Court
                      D-0424-CR-0201700027
    5th Judicial District, Eddy County, Artesia Magistrate Court
                        M-18-FR-201600058
     5th Judicial District, Lea County, Lovington District Court
                       D-506-CR-201600019
     5th Judicial District, Eddy County, Carlsbad District Court
                       D-503-CR-201600386
  7th Judicial District, Socorro County, Socorro Magistrate Court
                        M-52-FR-201200189
                        M-52-FR-201500247
    7th Judicial District, Sierra County, T or C Magistrate Court
                        M-51-FR-201400037
                       D-0721-CR-201400039
      7th Judicial District, Sierra County, T or C District Court
                       D-0721-CR-201500077
                       D-0721-CR-201400039

   7th Judicial District, Torrance County, Estancia District Court
                       D-0722-CR-201600029




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                       Stanley E. Lundy
                         ACTAR #2695
                   Albuquerque, New Mexico

13th Judicial District, Valencia County, Los Lunas District Court
                     M-60-FR-201400021
                    D-1314-CR-201500408




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